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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                      Judge William J. Martínez

          Case No. 22-cr-00012-WJM                                   Date: July 6, 2022

          Case Title: United States v. Rudolph, et al.

                                   PLAINTIFF    AMENDED WITNESS LIST
                                           (Plaintiff/Defendant)

                                           ESTIMATED
                 WITNESS                                   PROPOSED LENGTH OF TESTIMONY
                                             DATE
                                           July 12, 2022
Ralph              Finizio                                            30             30             60
                                                           Direct:          Cross:         Total:
Vince              Finizio                 July 12, 2022   Direct: 20       Cross: 20      Total: 40
Anthony            Giustini                July 12, 2022
                                                           Direct: 15       Cross: 15      Total: 30
                   Swanepoel               July 12, 2022
Mark               (cross-designated)      July 13, 2022              150            150            300
                                                           Direct:          Cross:         Total:
Roston             Yeyenga                 July 13, 2022
                                                           Direct: 20       Cross: 20      Total: 40
Mwene              Casiuss Banda           July 13, 2022
                                                           Direct: 30       Cross: 30      Total: 60
Boyd               Malama                  July 13, 2022
                                                           Direct: 30       Cross: 30      Total: 60
Daniel             Maswahu                 July 13, 2022
                                                           Direct: 45       Cross: 45      Total: 90
Francis            Jani                    July 14, 2022
                                                           Direct: 30       Cross: 30      Total: 60
Musawa             Musese                  July 14, 2022
                                                           Direct: 30       Cross: 30      Total: 60
Casius             Mwiinga                 July 14, 2022
                                                           Direct: 30       Cross: 30      Total: 60
Grace              Musazulwa               July 14, 2022
                                                           Direct: 30       Cross: 30      Total: 60
Stephen            DeFrance                July 14, 2022
                                                           Direct: 45       Cross: 45      Total: 90
                                           July 14, 2022
Stephen            Cina                                               45             45             90
                                           July 15, 2022   Direct:          Cross:         Total:
Rolecia            Smith                   July 15, 2022
                                                           Direct: 20       Cross: 20      Total: 40
Valerie            Wood                    July 15, 2022
                                                           Direct: 30       Cross: 30      Total: 60
Helen              Myer                    July 15, 2022
                                                           Direct: 20       Cross: 20      Total: 40
Chris              Calgaro                 July 15, 2022
                                                           Direct: 20       Cross: 20      Total: 40
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Otto            Westhassel           July 15, 2022
                                                      Direct: 60      Cross: 60      Total: 120
                Swanepoel            July 18, 2022
Pieter                                                          30             30             60
                (cross-designated)                    Direct:         Cross:         Total:
Debra           Wagner               July 18, 2022
                                                      Direct: 45      Cross: 45      Total: 90
Rhonda          Loosle               July 18, 2022
                                                      Direct: 20      Cross: 20      Total: 40
Greg            Mirabelli            July 18, 2022
                                                      Direct: 20      Cross: 20      Total: 40
Marguerite      Jenkins              July 18, 2022
                                                      Direct: 20      Cross: 20      Total: 40
Charlene        Arnold               July 18, 2022
                                                      Direct: 20      Cross: 20      Total: 60
Kelly           Siebels              July 18, 2022
                                                      Direct: 20      Cross: 20      Total: 40
                                     July 18, 2022
William         Gorman                                          30             30
                                     July 19, 2022    Direct:         Cross:         Total: 60
Peter           Milnes               July 19, 2022
                                                      Direct: 30      Cross: 30      Total: 60
Rochelle        Sanchez              July 19, 2022
                                                      Direct: 20      Cross: 20      Total: 40
Richard         Vorder Bruegge       July 19, 2022
                                                      Direct: 20      Cross: 20      Total: 40
Bruce           Bradtmiller          July 19, 2022
                                                      Direct: 45      Cross: 45      Total: 90
                                     July 19, 2022
Ryan            Jibson                                          20             20             40
                                     July20, 2022     Direct:         Cross:         Total:
Ryan            Cook                 July 20, 2022
                                                      Direct: 45      Cross: 45      Total: 90
                Rodgers              July 20, 2022
Steven                                                          45             45
                (cross-designated)                    Direct:         Cross:         Total: 90
Tom             Griffin              July 20, 2022
                                                      Direct: 60      Cross: 60      Total: 120
Paul            Babaz                July 20, 2022
                                                      Direct: 30      Cross: 30      Total: 60
                                     July 20, 2022
Donald          Peterson                                        120            120            240
                                     July 21,2022     Direct:         Cross:         Total:
                Clay                 July 21, 2022
Rachel                                                          30             30             60
                (cross-designated)                    Direct:         Cross:         Total:
Adam            Howard-Davies        July 21, 2022
                                                      Direct: 20      Cross: 20      Total: 40
Anna            Grimley              July 21, 2022
                                                      Direct: 30      Cross: 30      Total: 60
                                     July 21, 2022
Erin            Newton                                          60             60             120
                                     July 25, 2022    Direct:         Cross:         Total:
Rachel          Anders               July 25, 2022
                                                      Direct: 30      Cross: 30      Total: 60
Alain           Smith                July 25, 2022
                                                      Direct: 30      Cross: 30      Total: 60
Cassandra       Olmstead             July 25, 2022
                                                      Direct: 45      Cross: 45      Total: 90
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Sherri          Houck                July 26, 2022
                                                      Direct: 30   Cross: 30   Total: 40
Gilbert         Morlock              July 26, 2022
                                                      Direct: 20   Cross: 20   Total: 40
Levi            Weaver               July 26, 2022
                                                      Direct: 20   Cross: 20   Total: 40
James           Padish               July 26, 2022
                                                      Direct: 30   Cross: 30   Total: 60
Brian           Lovelace             July 26, 2022
                                                      Direct: 20   Cross: 20   Total: 40
